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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                    NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
           Plaintiffs,                               MEMORANDUM DECISION AND
                                                     ORDER ON PREJUDGMENT
                                                     INTEREST AND GRANTING
                                                     MOTION FOR APPROVAL OF
                                                     SUPERSEDEAS BOND AND
                                                     STAYING CASE PENDING
                                                     APPEAL


                   vs.


 RANDY L. HAUGEN, et al.,                            Case No. 1:95-CV-94 TS
           Defendants.




       In its prior Order,1 the Court granted prejudgment interest and directed Plaintiff to

file a calculation of the prejudgment interest. Defendants submit an alternative calculation

of prejudgment interest and also request approval of a $38.5 million supersedeas bond to

stay enforcement of the judgment pending their appeal.




       1
           Docket No. 1215, at 8.

                                             1
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       The parties dispute how the prejudgment interest should be calculated. In their

calculations, they both apply the federal prime rate and compound the interest. Plaintiff

argues the interest should be compounded monthly. Defendants argue it should be

compounded yearly. Compounding interest monthly results in a prejudgment interest total

of $13,494,418.92. Compounding interest yearly results in a prejudgment interest total of

$12,986,808. There is no controlling case law on the issue. There is case law from other

jurisdictions supporting both methods.2

       The Court being fully advised finds that the prejudgment interest should be

compounded yearly. The Court will order the judgment to be amended, nunc pro tunc, to

include the amount of $12,986,808, in prejudgment interest.

       The parties also submit calculations of the accrued post-judgment interest.

However, the Court need not calculate accrued post-judgment interest at this point

because post-judgment interest accrues according to law “to the date of payment,”3 and

enforcement of the judgment will be stayed pending appeal.

       Rule 62(d) provides: “If an appeal is taken, the appellant may obtain a stay by

supersedeas bond. . ..” “[T]he purpose of a supersedeas bond is to secure an appellee

from loss resulting from the stay of execution and . . . a full supersedeas bond should be


       2
        See, e.g., Blankenship v. Liberty Life Assur. Co. of Boston, 486 F.3d 620, 628
(9th Cir. 2007) (holding trial court’s factual findings supported award of prejudgment
interest at a rate that exceeded the standard Treasury bill rate, compounded monthly)
and Berger v. Iron Workers Reinforced Rodmen, Local 201, 170 F.3d 1111, 1140 (Fed.
Cir. 1999) (affirming trial court’s award of prejudgment interest on back pay award at
“interest at the rate of 6%, compounded annually, for the entire period of the litigation”).
       3
           28 U.S.C. § 1961(b).

                                             2
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the requirement in normal circumstances.”4 Plaintiffs do not dispute that the proposed

supersedeas bond in the amount of $38.5 million is sufficient. It is therefore

       ORDERED that the Clerk’s Judgment be amended, nunc pro tunc to March 20,

2007, to add “plus prejudgment interest in the amount of $12,986,808,” to the judgment

amount. It is further

       ORDERED that Defendants’ Motion for Approval of Supersedeas Bond (Docket No.

1220) is GRANTED and the supersedeas bond in the amount of $38,500,000 is approved.

Defendants shall file the bond forthwith and this case is STAYED pending appeal.

       DATED this 6th day of August



                                     BY THE COURT:



                                     _____________________________
                                     TED STEWART
                                     United States District Court Judge




       4
           Miami Intern. Realty Co. v. Paynter, 807 F.2d 871, 873 (10th Cir. 1986).

                                               3
